        Case 1:23-cv-12291-JEK          Document 27        Filed 04/23/24     Page 1 of 3



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
                                    )
Brian Langhammer              ,     )
             Plaintiff(s),          )
                                    )
v.                                  )                Civil Action No. 23-12291-JEK
                                    )
                                    )
Town of Tisbury, et al        ,     )
             Defendant(s).          )
                                    )
____________________________________)


                                     SCHEDULING ORDER

KOBICK, J.

       This Scheduling Order is intended to provide a reasonable timetable for discovery and
motion practice in order to help ensure a fair and just resolution of this matter without undue
expense or delay.

                         Timetable for Discovery and Motion Practice

       Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rule 16.1(f), it is
hereby ORDERED that:

   1. Initial Disclosures. Initial disclosures required by Fed. R. Civ. P. 26(a)(1) and by this
      Court’s Notice of Scheduling Conference must be completed by June 7, 2024.

   2. Amendments to Pleadings. Except for good cause shown, no motions seeking leave to add
      new parties or to amend the pleadings to assert new claims or defenses may be filed after
      October 31, 2024.

   3. Fact Discovery – Interim Deadlines.

           a. All requests for production of documents and interrogatories must be served by
              August 31, 2024.

           b. All requests for admission must be served by November 30, 2024.

           c. All depositions, other than expert depositions, must be completed by December 15,
              2024.
     Case 1:23-cv-12291-JEK           Document 27        Filed 04/23/24      Page 2 of 3




4. Obligation to Supplement. Supplemental disclosures under Fed. R. Civ. P. 26(e) shall be
   made promptly after the receipt of information by the party or counsel and, in any event, no
   later than the completion of fact discovery, unless good reason can be shown for why such
   information was not available.

5. Final Fact Discovery Deadline. All discovery, other than expert discovery, must be
   completed by January 23, 2025.

6. Status Conference. A status conference will be held remotely on January 8, 2025, at
   2:00PM. By January 6, 2025 [two days prior to the status conference], the parties shall file
   a status report indicating the current status of the case, including whether the parties intend
   to seek expert discovery and/or intend to file any dispositive motions, whether the parties
   are interested in mediation, as well as any other matter relevant to the progress of the case.

7. Expert Discovery.

       a. Plaintiff(s)’ trial experts must be designated, and the information contemplated by
          Fed. R. Civ. P. 26(a)(2) must be disclosed, by March 12, 2025.

       b. Plaintiff(s)’ trial experts must be deposed by April 27, 2025.

       c. Defendant(s)’ trial experts must be designated, and the information contemplated by
          Fed. R. Civ. P. 26(a)(2) must be disclosed, by April 12, 2025.

       d. Defendant(s)’ trial experts must be deposed by May 11, 2025.

8. Summary Judgment Motions.

       a. Motions for summary judgment must be filed by June 11, 2025.

       b. Oppositions to summary judgment motions must be filed within 21 days after
          service of the motion.

9. Initial and Pretrial Conferences. The initial pretrial conference will be scheduled at a later
   point in the proceedings. The parties must prepare and submit a pretrial memorandum in
   accordance with Local Rule 16.5(d) five business days prior to the date of the conference,
   except that the parties need not include matters required by Local Rule
   16.5(d)(2) or (3). The trial date will normally be set at the initial pretrial conference. A final
   pretrial conference will be scheduled at the time the trial date is set. The court may also
   schedule interim pretrial conferences in appropriate cases.


                                   Procedural Provisions

1. Extension of Deadlines. All requests to extend or modify deadlines must be made by
   motion and must state: (1) the original date(s); (2) the number of previous requests for
     Case 1:23-cv-12291-JEK         Document 27       Filed 04/23/24      Page 3 of 3



   adjournment or extension; (3) whether these previous requests were granted or denied;
   (4) the reasons for the requested extension; and (5) whether the opposing party consents
   and, if not, the reasons given for refusing to consent. The motion shall also contain a
   summary of the discovery, if any, that remains to be taken, and a specific date when the
   requesting party expects to complete the additional discovery, join other parties, amend the
   pleadings, or file a motion. Motions to extend or modify deadlines will be granted only for
   good cause shown.

   Absent an emergency, any request for an extension or adjournment shall be made at least
   forty-eight hours prior to the deadline or scheduled appearance.

2. Motions to Compel or Prevent Discovery. Except for good cause shown, motions to
   compel discovery, motions for protective orders, motions to quash, motions to strike
   discovery responses, and similar motions must be filed no later than the close of fact
   discovery or the close of expert discovery, whichever deadline is relevant. If additional
   discovery is compelled by the Court after the relevant deadline has passed, the Court may
   enter such additional orders relating to discovery as may be appropriate.

3. Reply Memoranda. Parties need not seek leave of court to file a reply memorandum in
   response to an opposition to any motion, provided that such a reply memorandum does not
   exceed eight pages, double-spaced, and is filed within seven days (excluding intermediate
   Saturdays, Sundays, and legal holidays) after service of the opposition memorandum.
   Parties may otherwise file reply or surreply memoranda only with leave of court. When
   such leave is sought, the moving party may file a proposed reply or surreply memorandum
   with the motion for leave.

4. Status Conferences. The Court has scheduled a status conference after (or close to) the
   close of fact discovery for case management purposes. Any party who reasonably believes
   that a status conference will assist in the management or resolution of the case may request
   one from the Court upon reasonable notice to opposing counsel.

5. Additional Conferences. Upon request of counsel, or at the Court’s own initiative,
   additional case-management or status conferences may be scheduled. Parties may request
   telephonic conferences where appropriate to avoid undue inconvenience or expense.

6. Early Resolution of Issues. The Court recognizes that, in some cases, resolution of one or
   more preliminary issues may remove a significant impediment to settlement or otherwise
   expedite resolution of the case. Counsel are encouraged to identify any such issues and to
   make appropriate motions at an early stage in the litigation.

7. Pretrial Conference. Lead trial counsel are required to attend any pretrial conference.




                                         United States District Judge
